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            AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Andrew Drewer, being first duly sworn, hereby depose and state as follows:

                 INTRODUCTION AND AGENT BACKGROUND

       1.     I make this affidavit in support of an application for a criminal complaint

charging Angelo Castigliola with making repeated phone calls with intent to harass in

violation of 47 U.S.C. § 223(a)(1)(E) and transmitting a threatening interstate

communication in violation of 18 U.S.C. § 875(c).

       2.     I am a Special Agent with the Federal Bureau of Investigation (FBI). I have

been a Special Agent since July 2008. I am currently assigned to the Boston Division,

Portland, Maine Resident Agency. During this time, I have conducted and participated

in numerous complex, multi-defendant investigations involving various criminal

offenses, to include bank fraud, wire and mail fraud, investment fraud, identity theft,

color of law, and computer related crimes. I have also conducted numerous

investigations regarding interstate threatening and harassment crimes. I have

participated in several arrest and search warrants pertaining to said investigations. Prior

to my employment with the FBI, I was a licensed attorney in the Commonwealth of

Virginia, practicing civil law. I obtained a Bachelor of Science degree in Government

from the College of William & Mary and a Juris Doctorate degree from Regent

University School of Law.

       3.     I am an investigative or law enforcement officer of the United States

within the meaning of Section 2510(7) of Title 18, United States Code, and I am

empowered by law to conduct investigations and to execute warrants issued under the

authority of the United States. I also am a “federal law enforcement officer” within the

meaning of Rule 41 of the Federal Rules of Criminal Procedure.
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      4.     This affidavit is intended to provide the facts necessary for a

determination of probable cause for the requested complaint and arrest warrant. The

facts set forth in this affidavit are based upon my personal knowledge, information

obtained during my participation in this investigation including information provided

by other investigators, my review of documents and computer records related to this

investigation, and information gained through my training and experience.

                        SHOWING OF PROBABLE CAUSE

   A. Calls to M.G.

      5.     On July 28, 2023, I received a report from a woman known to me from a

related matter (“K.G.”) that ANGELO CASTIGLIOLA had repeatedly contacted her

mother (“M.G.”) on her personal cell phone and left two threatening voicemails using a

voice modulator. CASTIGLIOLA is K.G.’s ex-boyfriend and the father of her minor son.

M.G. lives in Vassalboro, Maine and was in Maine when she received the calls.

      6.     I listened to the voicemails that CASTIGLIOLA left for M.G. In one

voicemail, CASTIGLIOLA stated that he was “going to murder” M.G.’s three daughters,

(including K.G.) and that he was “going to rape” M.G.’s two granddaughters, who are

minors. CASTIGLIOLA referenced each individual by name. The other voicemail was

similar in nature. M.G. informed me that she knew the caller was CASTIGLIOLA

because he used her name, as well as the names of her three daughters and two

granddaughters.

      7.     I know from my involvement in the investigation that upon receiving the

threatening voicemails, M.G. was terrified that CASTIGLIOLA would harm her children

and grandchildren. She stated that CASTIGLIOLA knows where she lives, as he used to

drop off his son (her grandson) at her home after his court-ordered visitation. Given the

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nature of the threats, M.G. immediately notified K.G., and together they notified other

family members and the local police department in Oakland, Maine.

       8.     In addition to these two voicemails, CASTIGLIOLA called M.G. more than

20 times on July 28, 2023. I reached the conclusion that the caller was CASTIGLIOLA

based on the information described below. All of the calls were made from phone

numbers other than the cell phone number known to be attributed to ANGELO

CASTIGLIOLA, which M.G. has saved in her phone. M.G. did not answer any of the calls

because she has a practice of not answering calls from unknown numbers.

       9.     I ran these phone numbers through a database, which indicated that the

provider for the phone numbers was Telnyx. Telnyx is a secondary phone number

application, which allows users to assign secondary phone numbers to their true phone

number in order to communicate with anonymity and privacy. The use of such a service

creates an appearance that the user is using a phone number different than the one

actually attributed to their phone.

   B. Calls to K.G.

       10.    I know from my involvement in the investigation that CASTIGLIOLA has

also been repeatedly contacting K.G. by phone call and text message over the last few

weeks on her personal cell phone. These messages have been of a harassing and/or

threatening nature, and K.G. reported each of the contacts to me. K.G. lives in

Waterville, Maine and was in Maine when she received the calls and text messages.

       11.    On July 16, 2023, CASTIGLIOLA sent K.G. several text messages in which

he alleged that she was having an affair with a Portland police officer and threatened to

“throttle his bitch ass”, “beat his ass down”, and “piss in his face while he lays on the



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ground”.1 The text messages were sent from a phone number that K.G. knows to belong

to CASTIGLIOLA, which she has saved in her phone as “Angelo”.

       12.     On July 27, 2023, CASTIGLIOLA left K.G. six voicemails, which again

focused on the unidentified Portland police officer. The calls came from the same phone

number that K.G. knows to belong to CASTIGLIOLA, and K.G. recognized the voice as

CASTIGLIOLA’s. K.G. also knew the caller was CASTIGLIOLA because he repeatedly

referenced their son by name. For example, in once voicemail the caller stated, “I’m

gonna see [redacted] fucking very soon bitch. You fucking expect to see me bitch.”

       13.     K.G. received several additional voicemails from CASTIGLIOLA on July

28, 2023 and August 3, 2023. The calls came from CASTIGLIOLA’s phone number, and

K.G. recognized the voice as CASTIGLIOLA’s. In these voicemails, CASTIGLIOLA

continued to focus on both his son and an unidentified Portland police officer, and did

not use a voice modulator. K.G. again knew that the caller was CASTIGLIOLA because

she recognized his voice and because he repeatedly referred to their son by name. For

example, in one voicemail, the caller said, “I’m [redacted’s] father” and in another he

said that he was coming to see his son very soon.

   C. Additional Context

       14.     As noted above, I was previously familiar with K.G. from a related matter,

in which someone made repeated phone calls to the personal cell phone of the wife of

the Executive Vice President and General Counsel of CASTIGLIOLA’s former employer

(“C.C.”) on June 4, 2023.




1 K.G. is not in a relationship and does not know the identity of the police officer that

CASTIGLIOLA is referring to.

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       15.    On June 4, 2023, C.C. received a total of 30 to 40 unsolicited telephone

calls on her personal cell phone from multiple telephone numbers. However, at least one

of the calls was identified by the caller ID on her phone as originating from Biddeford,

Maine. The caller also asked C.C. to call him back at the same Biddeford, Maine phone

number in at least one voicemail. I know from my involvement in the investigation that

this phone number was listed in the company directory as the telephone number for

ANGELO CASTIGLIOLA.2 This is also the same telephone number that K.G. knows to

belong to CASTIGIOLA, from which he has recently been calling and texting her. I ran

the other phone numbers that called C.C. through a database, which indicated that the

provider for the phone numbers was Telnyx. This is the same secondary phone number

application used to call M.G.

       16.    The caller left six voicemails for C.C., five of which used a voice modulator.

I know from my involvement in the investigation that C.C.’s husband played the

voicemail in which the caller neglected to use a voice modulator for several colleagues,

and more than one person recognized the voice as that of ANGELO CASTIGLIOLA

(including CASTIGLIOLA’s supervisor at the time and one of his former supervisors). In

addition, in each voicemail left for C.C. the caller identified himself as “Angelo”.

       17.    I previously listened to all six voicemails left for C.C. I also listened to all of

the voicemails left for K.G. When I listened to the July 28, 2023 voicemails left for M.G.,

I immediately recognized the voice as that of ANGELO CASTIGLIOLA. I also recognized

the voice modulator used as the same voice modulator used on the voicemails left for

C.C.


2 At the time of the calls, CASTIGLIOLA worked at the company as a Technical Manager and

was based in Maine. However, he was laid off on June 6, 2023 for unrelated reasons.

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